Case 1:24-mc-00084-JCN Document1 Filed 02/23/24 Pagelof1 PagelD#:1

UNITED STATES DISTRICT COURT! © 55)
DISTRICT OF MAINE Be gee oe

IN THE MATTER OF THE EXTRADITION OF

No. |: a4 M¢- O905Yy - ICN

MARIANNE SMYTH | seareors ee faa "EY pan Poe he

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MOTION TO SEAL CASE
The United States moves that this case be sealed. The public disclosure of the fact
that a complaint has been filed could result in the flight of Smyth, the destruction of
evidence, or danger to law enforcement officers who seek to effectuate the arrest.

The Government requests that this case be unsealed upon Smyth’s arrest.

Date: a j a 3 J. a 4 Darcie N. McElwee

United States Attorney

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- O c B. eB Casey
ae U.S. Attorney

